Case 1:17-cr-00232-EGS Document 261-5 Filed 10/07/20 Page 1 of 5




                       Exhibit D
10/6/2020              Case 1:17-cr-00232-EGS         Document 261-5 Filed 10/07/20 Page
                                      Brennan-Undated-Notes-WH-Meeting-2016-Russia-Collusion-10062020.jpg        2 of 5
                                                                                                          (795×683)




https://thefederalist.com/wp-content/uploads/2020/10/Brennan-Undated-Notes-WH-Meeting-2016-Russia-Collusion-10062020.jpg   1/1
                    Case 1:17-cr-00232-EGS Document 261-5 Filed 10/07/20 Page 3 of 5
DECLASSIFIED by DNI Ratcliffe on 6
October 2020



                                               Central lnte!Iigence Agency




                                                  \.Vashingtun, D.C. 20505




               SCJ3J:SCT:



                                     Nor:e




                                        Action Required:              ?he fellowing    i   .5
               ~rovided for ~he exclusi7e use o~ y~~r B~reau fc~ baskgro~nd,
               investiga t ive a8tion, ~r lesj 9Lrposes, as appr~9ria~e. 2lesse
               provide a c~py o~ ~h~s ~exora~d~2 to F3= S~ecial Age~t [F3I
               officer ~~ &n~~~~ i ~~ r c ~ ~ - - c ~ ] .

                                   Restrictions on Use: This memorandum contains
               sensitive .information that could be source ·revealing. =-:: she:c. l::i
                  Case 1:17-cr-00232-EGS Document 261-5 Filed 10/07/20 Page 4 of 5




               SUBJECT:             CROSSFIRE HURRICANE:



               below should be coordinated in advance with Chief,
               Counterintelligence Mission Center, Legal (C/CIMC/LGL). It may
               not be used in any legal proceeding - including FISA applications
               - without prior approval, nor can it be included in any
               electronic database, study or briefing, or as the basis for
               requirements for any other asset or source, without approval of
               C/CIMC/LGL. While the information may be shared with necessary
               investigative components of your organization, it should'not be
               released in any form to any other. organization or CIA component
               with prier approval of C/CIMC/LGL. This information may not be
               uploaded into any SIPRNET or JWICS based system, irrespective of
               the classification level of the system.

                    3.            Per FBI verbal request, CIA provides the below
               examples o:t inrormation the CROSSFIRE HURRICANE fusion cell has
               gleaned to date [Source revealing information redacted]:

                      a.
                                                            discussing
I
:   ...... _               US presidential candidate Hillary Clinton's approval of
                           a plan concerning US presideDtial candidate
                           Donald Trump and Russian hackers hampering US elections
                           as a means of                  ublic from her



                           Guccifer 2.0 is an individual or group of hackers whom
                           US officials believe is tied to Russian intelligence
                           services. Also per open sources, Guccifer 2.0 claimed
                           credit for hacking the Democratic National Committee
                           (DNC) this year.




                                                 2
 Case 1:17-cr-00232-EGS Document 261-5 Filed 10/07/20 Page 5 of 5




SUBJECT:             ROSSFIRE HURRICANE:




   4-




  FOR THE ASSISTANT DIRECTOR/CIA FOR COUNTERINTELLIGENCE




                               3
